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 7                                   UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    ROBERT AUGUSTINE, et al.,                         No. 2:17-cv-2605-WBS-AC
11                         Plaintiffs,
12            v.                                        ORDER RE SETTLEMENT & DISPOSITION
13    COUNTY OF SACRAMENTO, et al.,
14                         Defendants.
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17           The case was before the court for a settlement conference conducted on May 2, 2019.
18   Pursuant to the representations by counsel for the parties, the court has now determined that the
19   matter has settled.
20           The court now orders that dispositional documents are to be filed not later than July 31,
21   2019.
22           All hearing dates heretofore set in this matter are VACATED.
23           FAILURE TO COMPLY WITH THIS ORDER MAY BE GROUNDS FOR THE
24   IMPOSITION OF SANCTIONS ON ANY AND ALL COUNSEL OR PARTIES WHO
25   CONTRIBUTED TO THE VIOLATION OF THIS ORDER.
26           IT IS SO ORDERED.
27   DATED: May 2, 2019.
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